                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                     )
                                             )       NO. 3:09-00047-01
               v.                            )
                                             )       JUDGE NIXON
ADRIAN DEWAYNE PATTERSON                     )


 POSITION OF THE GOVERNMENT WITH RESPECT TO SENTENCING FACTORS

       The United States of America, through Jerry E. Martin, United States Attorney for the Middle

District of Tennessee, and Sunny A.M. Koshy, Assistant United States Attorney, hereby states it has

no objection to the Presentence Investigation Report for the defendant, Adrian Dewayne Patterson.




                                                     Respectfully submitted,

                                                     JERRY E. MARTIN
                                                     United States Attorney for the
                                                     Middle District of Tennessee

                                                     s/ Sunny A.M. Koshy
                                                     SUNNY A.M. KOSHY
                                                     Assistant United States Attorney
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                                CERTIFICATE OF SERVICE

        I hereby certify that on May 4, 2012, I electronically served one copy of the United States’
Position Of the Government With Respect To Sentencing Factors with the Clerk of the Court by
using the CM/ECF system, which will send a Notice of Electronic Filing to Peter Strianse, Attorney
for the Defendant, and Liberty Lander-Dyer, United States Probation Officer.


                                                     s/ Sunny A.M. Koshy
                                                     SUNNY A.M. KOSHY, AUSA




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